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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                          ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                          August 17, 2023
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90147 (DRJ)

                                      Debtors. 1                       (Jointly Administered)

                          INTERIM ORDER LIFTING AUTOMATIC STAY
                                         (No. 1238)

        Came on for consideration Emergency Motion to Lift the Automatic Stay filed by American
1 Gas, Inc., Broadway Fuel, Inc., Commack Fuel, Inc., Monto Food Mart, Inc., Prime Petro, Inc.,
and Riverdale Fuel, Inc (the “Operators” and the “Motion”). After considering the pleading, the
Court finds cause to grant the requested relief. It is therefore,
             ORDERED:


             1. The Motion is granted to the extent as set forth herein.
             2. The Operators are authorized to use any means necessary to purchase fuel from non-
                debtor entities and to facilitate payment, including but not limited to the disconnection
                of the Debtors’ credit card processing machines and black boxes. Notwithstanding the
                foregoing, the Operators are required to account for and report all purchases and sales
                of fuel from non-debtor entities made through and including September 1, 2023.

             3. Relief in this order is authorized through September 1, 2023, or upon further order by
                this Court. The Court will hold a further hearing on September 1, 2023 at 11:00 a.m. (Central)

             4. The fourteen (14) day stay provided for under the Federal Rules of Bankruptcy
                Procedure 4001(a)(3) is hereby waived and the Operators, their successors and assigns,
                are authorized to immediately and enforce and implement the terms of this Order.
             5. The Court retains exclusive jurisdiction and power with respect to all matters arising
                from or related to the implementation, interpretation, and enforcement of this Order.




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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 cases is
      3650 Mansell Road, Suite 250, Alpharetta, GA 30022.
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      Signed: August 17, 2023.
Dated: __________, 2023
                                      DAVID  R. JONES
                                       ____________________________________
                                      UNITED  STATES
                                       DAVID R.  JONESBANKRUPTCY JUDGE
                                       UNITED STATES BANKRUPTCY JUDGE
